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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION


ADAM P. JOHNSON and ASHLEY                                    CIVIL CASE NO. ____________
JOHNSON
Plaintiffs

versus                                                        JUDGE _____________________


SEGWAY, INC. and NINEBOT (CHANGZHOU)                          MAGISTRATE ______________
TECH CO., LTD.
Defendants

                                    ORIGINAL COMPLAINT

         NOW INTO COURT, through undersigned counsel, comes Plaintiffs, Adam P. Johnson

and Ashley Johnson, (hereinafter "Plaintiffs"), who respectfully represents as follows:

                                               Parties

                                                  1.

         The parties herein are:

         Plaintiffs, Adam P. Johnson and Ashley Johnson, are individuals of the full age of majority,

residing in Lake Charles, Louisiana, who are married and living as husband and wife.

         Made defendant herein are Segway, Inc., (“Segway”) a domestic corporation, which may

be served at 14 Technology Drive, Bedford, New Hampshire; and Ninebot (Changzhou) Tech Co.,

Ltd.,, (“Ninebot”) a foreign corporation, doing business in the United States, which may be served

at 16F-17F Block A, Building 3, No. 18, Changwu Mid Rd., Wujin Dist., Changzhou, Jiangsu,

China.
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                                     Jurisdiction and Venue

                                                  2.
         Jurisdiction is proper in this Court pursuant to 28 U.S.C. 1332, as this is a controversy

between citizens of different states and the matter in controversy exceeds $75,000, exclusive of

interest and costs. The injury and damages made subject of this suit occurred in Calcasieu Parish,

Louisiana. Segway and Ninebot, together and separately, sold the subject product to a Louisiana

individual, such that this Court has jurisdiction over both defendants.

                                      Factual Background

                                                 3.

         On or about January 30, 2021, Plaintiff Adam Johnson was riding a newly purchased

Segway Ninebot S-Plus outside his home in Lake Charles, Louisiana, in a normal manner when

suddenly and without warning, the machine stopped, and Plaintiff was thrown to the ground,

thereby causing the injuries and damages as set forth below.

                                                 4.

         Plaintiff believes that some electrical system between the battery and the machine

malfunctioned, causing the machine to believe the battery had run out of power and stop suddenly.

                                                 5.

         The Segway Ninebot-S is designed, per the owner’s manual provided to Plaintiffs with the

machine when purchased, to reduce its top speed capability incrementally as the battery loses

power.
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                                                   6.

        At the time that the Segway Ninebot-S Plaintiff was riding stopped, the machine registered

a dead battery, but the machine had not reduced its top speed capability whatsoever. As a result,

the machine was going forward at full speed when it suddenly stopped and threw Plaintiff Adam

Johnson from the machine.

                                                   7.

        Plaintiff was not operating the machine in an unsafe or improper manner pursuant to the

manufacturer’s guidelines.

                                                   8.

        As a result of the aforesaid fall, Plaintiff Adam Johnson suffered serious, painful injuries,

including fracture of his right radius and fracture of his left radius.

                                                   9.

        As a result of the aforesaid injuries, Plaintiff Adam Johnson incurred medical bills, physical

pain and suffering, mental pain and suffering and anguish, disability, loss of enjoyment of life, and

other damages, for which he is entitled to recover damages in a reasonable amount.

                                                  10.

        Plaintiff Ashley Johnson, as a result of the injuries suffered by Adam Johnson, her husband,

suffered loss of love, service, society, affection, and support, for which she is entitled to recover

damages in a reasonable amount.
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                   Claims pursuant to the Louisiana Products Liability Act

                                               11.

       Both defendants herein, pursuant to the Louisiana Products Liability Act, are a

manufacturer and/or seller of the subject product who holds itself out as the manufacturer by

labeling the product as its own. The product’s name bears both companies’ title: “Segway Ninebot

S-Plus.” The product is labeled as being manufactured by Ninebot and advertised under the name

Segway.

                                               12.

       Upon information and belief, Segway is a subsidiary company of Ninebot.

                                               13.

       The subject Segway Ninebot S-Plus was unreasonably dangerous in its construction or

composition as it was built in a way that allowed it to stop suddenly and without warning while

moving at full speed, which did not conform to the manufacturer’s specifications and/or

performance standards, and such deviation was material to the performance of the product. Upon

information and belief, the deviation in this Segway Ninebot S-Plus existed at the time it left the

manufacturer’s control as Plaintiff bought what was advertised as a new product and made no

alterations to the same.

                                               14.

       The Segway Ninebot S-Plus was unreasonably dangerous for failure to have adequate

warning, in that either when the item left the manufacturer’s control, or thereafter, the
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manufacturer knew of the product’s characteristic of stopping at full speed without warning and

no warning was provided regarding this characteristic of the Segway Ninebot S-Plus.

                                                   15.

          The unreasonably dangerous condition of the product was the sole and proximate cause

of the subject incident and the injuries and damages ensuing therefrom.

          WHEREFORE, Plaintiffs, Adam P. Johnson and Ashley Johnson, pray that the above

petition be deemed good and sufficient at law, that Defendants, Segway, Inc. and Ninebot

(Changzhou) Tech Co., Ltd., be cited and served with a copy of the foregoing Complaint, and after

all legal delays and due proceedings are had, that there be judgment in favor or Plaintiff, Adam P.

Johnson, and against Defendant, Segway Ninebot, for such damages as are reasonable in the

premises, along with judicial interest from date of demand, as well as all costs of these proceedings.

          Plaintiff prays for any and all other relief which the law, equity, and nature of the case may

permit.

Respectfully submitted,

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